CaSe 18-11025-CSS Doc 1 Filed 05/01/18 Page 1 of 24

 

§ Uniled States Banki'uptcy Court for the:

District of De|aWSl‘€

§ (Slate)

v Case number (/rl<n<>wn>: _ ________ Chapter 11 j l:] Checl< if this is an
§ amended filing
_(_)fficial Form 201

Voluntary Petition for Non-lndividuals Filing for Bankruptcy 04/16

 

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-lndividuals, is available.

1. Deber’S name Gibson Brands, |nc.

 

2. All other names debtor used G§bson Gulta{ Corporatlon
in the |ast 3 years Glbson lnstrurnents, lnc.

 

 

 

include any assumed names.
trade names, and doing business
138 il€tm@$

 

 

3. Debtor’sfedera|Employer 7 3 _1 2 4 4 5 2 0
identification Number (E|l\l) "` '"' ”" ""` " ~' _“ """

4. Debtor’s address Principal place of business lV|ailing address, if different from principal place
of business

309 Plus Parl< Blvci.

 

 

 

 

 

 

Number Street Number Street
P.O. Bo)<
Nasn\/il|e TN 37217
City Sfate Z\P COde City State ZlP Code

Location of principal assets, if different from
principal place of business

 

 

 

 

 

Davidson
County
Number Street
City State Z|P Code
5. Debtor’s website (URL) vv\/vvv.gibson.oom; vvvvvv.epiphc)ne.com

Corporatlon (including Limited Liabi|ity Cornpany (l_LC) and Limited Liability Partnership (LLP))
[:l Partnership (e)<cluding LLP)
l:l Other. Speciiy:

6. Type of debtor

 

Official Form 201 Voluntary Petition for Non~lndividuals Filing for Bankruptcy page 1

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 2 of 24

nebth Gibson Brands, |nc.

Case number nllm¢wn)

 

Naine

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9, Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

|f more than 2 cases, attach a
separate list

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

l_ist all casesl if more than 1,
attach a separate list

Offlcial Form 201

A. Check one:

l:l Health Care Business (as defined in 11 U.SrC, § 101(27/\))
l:] Sing|e Aeset Real Estate (as defined in 11 U.S.C. § 101(51B))
[:] Railroad (as defined in 11 U.S.C. § 101(44))

l:] Stockbrol<er (as defined in 11 U.S.C. § 101(53A))

[:l Commodity Brol<er (as defined in 11 U.SrC. § 101(6))

m Clearing Bank (as defined in 11 UrS.C. § 781(3)) 4

None of the above

B. Check all that apply:

I:l Tax-exempt entity (as described in 26 U.S.C. § 501)

l:] investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ SOa-B)

[:] lnvestment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NA|CS (North American industry Classification System) 4~digit code that best describes debtor See
http://wviniv.uscourts.dov/four~diolt-national»association»nalcs--codes .

__3___.3___9__9._.

 

Check one:

l:l Chapter 7
l:l Chapter 9
Chapter 11. Check a// that app/y:

l:l Debtor's aggregate noncontingent liquidated debts (e)<cluding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

l:l The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). lf the
debtor is a small business debtor, attach the most recent balance sheet statement
of operations cash-flow statement and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)([3).

m A plan is being filed with this petition.

m Acceptances of the plan were solicited prepetition from one or more classes of
creditorsl in accordance with 11 U.S,C. § 1126(b).

ij The debtor is required to file periodic reports (for example 10K and 100) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. F lie the Attachment to \/o/untan/ Petition for Non~/nd/'vidua/s Fi/ing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

[:l The debtor is a shell company as defined in the Securities E)<change Act of 1934 Rule

 

12b-2.
[:l Chapter 12
No
l:] YeS. District When Case number ___________~
l\/ll\/l / DD / YYYY
District \/Vhen Case number ___…_____W,_~____
l\/ll\/l / DD / YYYY
l:l No
YeS. Debtor See Schedule 1 Relationship
Distrlct V\/hen

 

Y\`/i'lvl / Do /YYYY
Case number, if known

 

\/oluntary Petitlon for Non-lndividuals Filing for Bankruptcy page 2

Case 18-11025-CSS Doc 1 Flled 05/01/18 Page 3 of 24

Debm Gibson Brands, lnc.

Name

Case number <irr/ioiini

 

11. Why is the case filed irl this Cnec/< a// that apply;

district’? , . l y _ . _
Debtor has had its domicile principal place of businessl or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district

[JA bankruptcy case concerning debtors affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have NO
possession of any real
property or personal property

that needs immediate Why does the property need immediate attention? (Chec/< a/Irliatzippiy.)
attention?

l:] Yes. Answer below for each property trial needs immediate attention Attach additional sheets if needed.

l:] lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
V\/hat is the hazard?

 

l:l lt needs to be physically secured or protected from the weather.

[:] lt includes perishable goods or assets that could quickly deteriorate or lose value without
attention (tor example, livestock, seasonal goods, meat, dairy, produce, or securities»re|ated
assets or other options).

l:l Other

 

Where is the property?

 

N timber Street

 

 

City State ZlP C`ode

ls the property insured?

[]No

|:l YeS. insurance agency

 

Contact name

 

Phone

 

Statistical and administrative information

 

 

13. Debtor’s estimation of Check one;

ava'|ab'e funds Funds will be available for distribution to unsecured creditors

m After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

_ [:] 1~49 1,000-5,000 l:l 25,001`50,000
“4' Est(';i‘ated number °f ij 50~99 l:l 5,001~10,000 l:l 50,001-100,000
°re 't°'$ [__.| 100~199 l'_'_l 10,001-25,000 l:l i\/ioreinan 100,000
l:l 200~999
_ ij $0-$50,000 l:l $1.000,001~$10 million lI] sooo,ooo,ooi~si oiilion
15' Est'mated assets l:l sso,ooi*$ico,oor) ij sio,ooo,ooi~sso million l`.:l 31.000,000,001-$10 billion
|:l sloo,ol)i‘$soo,ooo l:l sso,ooo,ooi-sioo million l:l $10,000,000,001~$50 billion
[:l $500,001*$1 million $ioo,ooo,ooi-saoo million l:l i/loro than 350 billion

Official Form 201 \/oluntary Petition for Non-lndividuals Fiiing for Bankruptcy page 3

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 4 of 24

 

 

 

 

 

Del:)tor Gibson Brand$. inC- Case number lllio»owni
Num¢
1 E ti t d n blm ij so-sso,ooo Ci sl.ooo.ool-slo million ` i:i ssooiooo.ool~sl billion
“ 5 ma a a es l:i sso,ool»$ioo.ooo Ei slo,ooo,ooi»sso million ij sl,ooo,ooo.oi)l~$lo billion
El sloo.ooi-ssoo.ooo EJ sso.ooo,ooi-sloo million Ei sioiooo,ooo.ool-sso billion
ij ssooiool-si million sloo,ooo_ool-ssoo million Ei More than $50 billion

 

- Request for Relief, Declaration, and Slgnatures

WARN|NG -- Bankruptcy fraud is a serious crime. Niaking a false statement in connection with a bankruptcy case can result ln lines up to
3500.000 or imprisonment for up to 20 years. or both. 18 U.S.C. §§ 152, 1341, t519i and 3571.

 

17' Dec'af§fl°n and 539“3¥§"'9 Of l The debtor requests relief in accordance with the chapter of title 11. United Slates Code. specified ln this
authorized representative of amon

debior " '

l l have been authorized to file this petition on behalf of the debtor.

c l have examined the information in this petition and have a reasonable belief that the information is true and
correct

i declare under penalty fp riury that the foregoing is true and correct

  
   

Executed on
M

_W enry E. Juszkiewicz b

Sigrme of authorized representative ot debtor Pn'nled name

me Chief Executive Officer

 

la. Slgnature of attorney Xm` M_,F'NN 2 ./- f f dr
/\ jj z ll Date ~-" / /

l -.
Signelct'i{e of attorney for debtor é- MM /DD lVYYY

  

David l\/i. Fournier
Printed name

Pepper i-lamiiton LLP

 

 

 

 

 

 

 

Firm name

Hercuies Piaza, Suite 51001 1313 N. Nlarket Street

Number Street

V\filmington DE i9801

City State ZiP Code

(302) 777~6500 fournied@pepperiaw.com
Contact phone Email address

2812 DE .

Bar number State

 

Official Form 201 Voiuntary Pelition tor Non~individuals Filing for Bankruptcy page 4

CaSe 18-11025-CSS Doc 1 Filed 05/01/18 Page 5 of 24

_S_§t@_lile_l_
Pending Bankruptcv Cases Filed bv the Debtor and Affiliates of the Debtor
On the date hereof, each of the affiliated entities listed below, including the debtor in this

chapter l l case, 'l'iled a voluntary petition for reliefunder chapter ll of title l l o'l" the United
States Code in the United States Ban|<ruptcy Court for the District ol"Delaware (the “_C_o_ur_t”). A
motion Will be filed With the Court requesting that the chapter l l cases of the entities listed
below be consolidated vl`or procedural purposes only and jointly administered pursuant to Rule
101 5(1)) of the Federal Rules of Bankruptcy Procedure, under the case number assigned to the
chapter l l case o'FGibsoii Brands, lnc.

¢ Baldwin Piano, lnc.

~ Cakevvall<, lnc.

¢ Consolidated l\/lusical lnstruments, LLC

0 Gibson Brands lnc.

¢ Gibson Café & Gallery, LLC

0 Gibson Europe B.V.

~ Gibson Holdings, lnc.

¢ Gibson Innovations USA, lnc.

0 Gibson lnternational Sales LLC

¢ Gibson Pro Audio Corp.

0 Neat Audio Acquisition Corp.

0 Wurltizer Corp.

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 6 of 24

CERTIFICATE OF SECRETARY OF BOARI) OF DIRECT()RS OF
GIBSON BRANDS, INC.

May 1, 2018

The undersigned, in his capacity as duly appointed Secretary of Gibson Brands lnc.,

hereby certifies as follows:

l.

On the date first Written above, the members of the board of directors, members of the
board of managers, individual managers, sole managers, and sole members (collectively,
the “Boards”), as applicable, of each entity set forth in Annex A attached hereto (each, a
“Company” and collectively, the “Companies”) held a duly noticed meeting (the
c‘Meeting”) pursuant to each of such Company’s bylaws, limited liability company
agreement, or other governing document, as applicable, and the applicable laws of the
jurisdiction in Which such Company is organized

Attached hereto as Exhibit A is a;true?,.,cpmplete, and correct copy of the resolutions duly
adopted by the unanimous vote of the members of the Board of Gibson Brands, lnc. at the
Meeting.

Attached hereto as Exhibit B is a true_, ',complete and correct copy of the resolutions duly
adopted by the vote of the members or the Boards of the Companies at the Meeting, l\/lr.
J uszklevv1cz and Mr. Berryman having recused themselves from the vote

Attached hereto as Exhibit C is a true, complete, and correct copy of the resolutions duly
adopted by the unanimous vote of the members of the Boards of the Companies at the
l\/leeting.

IN WITNESS WHEREOF the undersigned has executed this Secretary Certificate as of the
date first set foith above

By: /s/ Bruce A. Mz`l'chell
_ Name: Bruce A. Mitchell
Title: Secretary

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 7 of 24

EXHIBIT A

RESOLUTI()NS

WHEREAS, the respective Board of each Company has considered presentations by the
management and the financial and legal advisors of each Company regarding the liabilities and
liquidity situation of each Company, the strategic alternatives available to it, and the effect of the
foregoing on each Company’s business, creditors, and other parties in interest;

WHEREAS, the respective Board of each Company has had the opportunity to consult
With each Company’s management and financial and legal advisors;

WHEREAS, the Board of Gibson Brands, lnc. desires to appoint to its Board Alan J. Carr
of Drivetrain, LLC as Independent Director;

NOW, THEREF()RE, BE IT RES()LVED THAT

RESOLVED, that Alan J. Carr of Drivetrain, LLC be, and hereby is, appointed to serve
as independent Director of Gibson Brands, Inc., to serve until his successor is duly appointed and
qualified or until her earlier resignation or removal; and it is further

RESOLVED, that the bylavvs of Gib-'sonlBrands, lnc. be, and hereby are, amended to
provide that that the vote of Alan J. Carr of Drivetrain, LLC shall be required for the Specified
Actions (as defined in that certain Restructuring Agreement dated l\/Iay 1, 2018).

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 8 of 24

EXHIBIT B
RESOLUTIONS

WHEREAS, the respective Board of each Company has considered presentations by the
management and the financial and legal advisors of each Company regarding the liabilities and
liquidity situation of each Company, the strategic alternatives available to it, and the effect of the
foregoing on each Company’s business, creditors, and other parties in interest;

WHEREAS, the respective Board of each Company has had the opportunity to consult
with each Company’s management and financial and legal advisors and fully consider each of
the strategic alternatives available to each Company;

WHEREAS, each Company intends to implement a financial restructuring (the
“Restructuring”) on terms and conditions set forth in that certain Restructuring Support
Agreement dated May l, 2018, and the exhibits thereto (collectively, the “RSA”);

WHEREAS, the Restructuring described in the RSA Will be implemented by, among
other things, each Company commencing‘cases under chapter ll of title ll of the United States
Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) t<)"obtain'debtor-in-possession financing (the “_D_I_R
Financing”) and to implement a chapter `l 'l "`plan`*of reorganization (the “Bl_a_n”);

WHEREAS, the respective Board ofeach Company has been presented with information
from management and the Company s advis so1 s regarding the Restructuring, the RSA, and the
transactions and obligations contemplated by or referred to in any or all of them, and has had an
opportunity to review the same;

WHEREAS, the respective Board ofeach Company, having had a series of meetings to
consider the financial and operational aspects"_of each Company’s business and the best course of
action to maximize value, having received-financial and other input from management and its
advisors, having had the opportunity to review ai'id consider the same, and having pursued and
considered various alternatives, have determined in the exercise of their respective business
judgment that given the current facts and circumstances confronting the Company, it is advisable
and in the best interests of each Company, it_scre'ditors, and other interested parties that the RSA
be executed and implemented as contemplated'by the RSA;

Now, THEREFoRE, BE IT 'RE_soLvED THAT

RESOLVED, that in the judgment-of the respective Board of each Company it is
desirable and in the best interests of each Company, its subsidiaries, creditors, employees,
stakeholders and other interested parties to execute the RSA and implement the Restructuring as
set forth in the RSA; and it is further

RESOLVED, that the officers of each Company (collectively, the “Officers”) or any one
of them, be, and each hereby 1s authorized and empowered on behalf of and in the name of each
Company, to execute the RSA; and it is further

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 9 of 24

RESOLVED, that the Officers, orlany one of them, be, and each hereby is, authorized
and empowered, on behalf of and in the name of each Company, to amend, supplement or
otherwise modify from time to time the terms of any documents, certificates, instruments,
agreements, financing statements, noticesc undertakings or other writings referred to in the
foregoing resolutions; and it is further

RES()LVED, that the Officers be, and each of them hereby is, authorized and
empowered, on behalf of and in the name of each Company, to take or cause to be taken any and
all such further action and to execute, deliver, verify and/or file, or cause to be executed,
delivered, verified and/or filed (or direct others to do so on its behalf as provided herein) all such
further documents, agreements, instruments, financing statements, notices, undertakings,
certificates and other writings to effectuate the purpose and intent of any and all of the foregoing
resolutions, except, however, the Definitive Documents (as defined in the RSA) which shall be
subject to further approval of the Board.

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 10 of 24

EXHIBIT C
RESOLUTI()NS

WHEREAS, the respective Board of each Company has considered presentations by the
management and the financial and legal advisors of each Company regarding the liabilities and
liquidity situation of each Company, the strategic alternatives available to it, and the effect of the
foregoing on each Company’s business, creditors, and other parties in interest;

WHEREAS, the respective Board of each Company has had the opportunity to consult
with each Company’s management and financial and legal advisors and fully consider each of
the strategic alternatives available to each Company;

WHEREAS_, each Company intends to implement a financial restructuring (the
Restructuring”) on terms and conditions set forth in that certain Restructuring Support
Agreement dated May l, 2018, and the exhibits thereto (collectively, the “RSA”);

¢C

WHEREAS, the Restructuring described in the RSA will be implemented by, among
other things, each Company commencing cases under chapter ll of title ll of the United States
Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) to obtain debtor-in-possession financing (the “l_)l_R
Financing”) and to implement a chapter ll"pla'n_ lof reorganization (the “M”);

WHEREAS, the RSA requires the retention of a chief restructuring officer by, Gibson
Brands, lnc.;

WHEREAS, the Board of Gibson Brands, lnc. desires to retain Brian J. Fox of Alvarez &
Marsal North America, LLC as Chief Restructuring Officer;

WHEREAS, the respective Board o`feach Company has been presented with a proposed
petition to be filed by each Company in the_Bankruptcy Court seeking relief under the
Bankruptcy Code, in which the authority`to' operate as a debtor-in-possession will be sought;

WHEREAS, the respective Board of‘each Company, having had a series of meetings to
consider the financial and operational aspects of'each Company’s business and the best course of
action to maximize value, having received financial and other input from management and its
advisors, having had the opportunity to review and consider the same, and having pursued and
considered various alternatives_, have determined in the exercise of their respective business
judgment that given the current facts and circumstances confronting the Company, it is advisable
and in the best interests of each Company9 its creditors, and other interested parties that a petition
be filed by each Company seeking relief under the provisions of chapter ll of the Bankruptcy
Code and to implement the Restructuring as contemplated by the RSA;

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 11 of 24

NOW, THEREFORE, BE IT RESQLVED THAT

RESOLVED, that in the judgment of the respective Board of each Company it is
desirable and in the best interests of each Company, its subsidiaries, creditors, employees,
stakeholders and other interested parties that a~ voluntary petition be filed by each Company
seeking relief under the provisions of chapter .ll‘ of the Bankruptcy Code, and the filing of such
petition is authorized hereby; and it is further

RESOLVED, that Brian J. Fox of Alvarez & Marsal North America, LLC be, and hereby
is, appointed to serve as Chief Restructuring Officer of Gibson Brands, lnc., to serve until his
successor is duly appointed and qualified or until his earlier resignation or removal; and it is
further

RESOLVED, that the officers of each Company (collectively, the “Officers”), or any one
of them, be, and each hereby is, authorized and empowered, on behalf of and in the name of each
Company, to execute and verify a petition in the name of each Company under chapter ll of the
Bankruptcy Code and to cause the same to be filed in the Bankruptcy Court in such form and at
such time as the Officer(s) executing said petition on behalf of each Company shall determine;
and it is further

RESOLVED, that the foicers, or any one of them, be, and each hereby is, authorized
and empowered, on behalf of and in the name of each Company, to execute, verify and/or file, or
cause to be executed, verified and/or filed (or direct others to do so on their behalf as provided
herein) all necessary documents, including, without limitation, all petitions, affidavits,
statements, schedules, motions, lists, applications, pleadings and other papers, and in connection
with the Petition, to employ and retain‘all assistance by legal counsel, accountants or other
professionals, and to take any and all action which they deem necessary and proper to maintain
the ordinary course operation of each Company’s business during the pendency of the chapter ll
case, including any and all action necessary or proper in connection with obtaining authorization
to use cash collateral and obtain the DIP Financing on the terms set forth in the RSA, employ
professionals retained by the Debtors, and seek the relief contemplated by the “first day” and
“second day” motions; and it is further

RESOLVED, that the Officers, or any one of them, be, and each hereby is, authorized
and empowered, on behalf of and in the name of each Company, to retain and employ
professionals to render services to each Company in connection with the chapter ll case,
including, without limitation, the firm Goodwin Procter LLP, to act as chapter ll counsel;
Pepper Hamilton, LLP, to act as Delaware and conflicts counsel; Jefferies LLC, to act as
investment banker; and Alvarez & Marsal North America, LLC, to provide additional personnel
to support the Chief Restructuring Officer; and Prime Clerk LLC, to act as claims and noticing
agent and administrative advisor; and it is further

RESOLVED, that it is appropriate, advisable and in the best interests of each Company to
enter into, execute and consummate the DIP Financing on the terms set forth in the RSA; and it
is further

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 12 of 24

RESOLVED, that each Company is hereby authorized to mortgage, charge, assign,
pledge and otherwise transfer and encumber and grant security interests in its present and future
real and leasehold property, equipment, inventory, intangibles, undertaking and other property
and assets as security for its present and future indebtedness under or in connection with the DIP
Financing; and it is further

RESOLVED, that it is appropriate and in the best interests of each Company to enter
into, execute, deliver and perform the transactions, and any and all other agreements, instruments
and documents deemed necessary or desirable to evidence and/or secure the obligations under
the DIP Financing, including without limitation loan or credit agreements, promissory notes,
deeds of trust, mortgages, deeds to secure debt, security agreements, pledge agreements,
assignments of leases and rents, assignments, guaranties, agreements with third parties
(including, without limitation, lockbox agreements, cash management agreements and deposit
account control agreements) relating to the collateral, indemnity agreements, certificates,
affidavits, financing statements, applications, notices and other agreements of any kind or nature
whatsoever (collectively, the “Credit and Security Documents”); and it is further

RESOLVED, that the form, terms and‘provisions of, and the performance of the
transactions contemplated by the Cre'dit and iSecurity Documents in the foregoing resolutions be,
and they hereby are, authorized, approved and adopted in all respects and each Company is
hereby authorized to (i) enter into the Credit and Security Documents, (ii) perform its respective
obligations thereunder, and (iii) take all actions contemplated thereby; and it is further

RESOLVED, that the Officers, or anyone of`them, be, and each hereby is, authorized
and empowered, on behalf of and in the name of each Company, to amend, supplement or
otherwise modify from time to time the terms of any documents, certificates, instruments,
agreements, financing statements, notices, undertakings or other writings referred to in the
foregoing resolutions; and it is further

RESOLVED, that the Officers be, and each of them hereby is, authorized and
empowered, on behalf of and in the name of each Company, to take or cause to be taken any and
all such further action and to execute, deliver, verify and/or file, or cause to be executed,
delivered, verified and/or filed (or direct others to do so on its behalf as provided herein) all such
further documents, agreements, instruments, financing statements, notices, undertakings,
certificates and other writings to effectuate the purpose and intent of any and all of the foregoing
resolutions, except for the Definitive Documents (as defined in the RSA) which shall be subject
to further approval of the Board; and it is further

RESOLVED, that the Officers be, and each of them hereby is, authorized and
empowered, on behalf of and in the name of each Company, to pay and direct the payment of all
fees and expenses as in their judgment shall be‘necessary, appropriate, or advisable in the good
faith judgment of such Officers to effectuate the purpose and intent of any and all of the
foregoing resolutions; and it is further

RESOLVED, that all acts lawfully done or actions lawfully taken by any Officer to seek
relief on behalf of each Company under chapter 11 of the Bankruptcy Code, or in connection
with the chapter ll case, or any matter related thereto, in connection with the Company’s

Case 18-11025-CSS c Doc 1 Filed 05/01/18 Page 13 of 24

ordinary course operations be, and hereby are, adopted, ratified, confirmed and approved in all
respects as the acts and deeds of each Company as fully as if such actions had been presented to
the respective Board of each such Companyfor its prior approval; and it is further

RESOLVED, that the Officers be, and each of them hereby is, authorized and
empowered, on behalf of and in the name of each Company, to pay and direct the payment of all
fees and expenses as in their judgment shall be necessary, appropriate, or advisable in the good
faith judgment of such Officers to effectuate the purpose and intent of any and all of the
foregoing resolutions

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 14 of 24

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Annex A
COMPANY JURISDICTION

Gibson Brands, lnc. DELAWARE
Baldwin Piano, lnc. DELAWARE
Cakewalk, lnc. MASSACHUSETTS
Consolidated l\/lusical Instruments, LLC DELAWARE
Gibson Cafe' & Gallery, LLC DELAWARE
Gibson international Sales LLC DELAWARE
Gibson Pro Audio Corp. CALIFORNIA
Neat Audio Acquisition Corp. DELAWARE
Wurlitzer Corp. DELAWARE
Gibson lnnovations USA, lnc. DELAWARE
Gibson Holdings, lnc. DELAWARE
Gibson Europe B.V. THE NETHERLANDS

 

 

 

Case 18-11025-CSS

i)cl)ior nan\e: Gil)son Bramis, lnc,. al nl.

tJnllc.d Slates Bankruple Colm forll\c: D|sir|cl of Delaware
Ca\se number (|f kn_nwn):

 

Doc 1 Filed 05/01/18 Page 15 of 24

 

cna'.,t.ontni

Chapter 11 or Chapter$ Cases: Llst of Creditors Who Have the 30 Largest Unsecured C|alrns and Are Not insiders

1;1Cl\ecklithlsis an
amended filing

A list of creditors holding the 30 largest unsecured c|a|ms must he filed in a Chap!er 11 or Chaptcr 9 caso. include claims which ina debtor disputes4 Do nol include claims by any person or entity who is an lnsider. as defined in 11
015.(. §101(31).Also, do not include claims by secured creditors unless tire unsecured claim resulting from inadequate collateral value places the creditor among thc holders ol the 30 largest unsecured clalms.

 

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

.rnor\iic 13.\1.1.
121= No 82 MiN¢ci 1uAN ltor\i) 111101\112 - 86-70<)-3515031<> ,1 ,
- 1 . ;1 2, ,7<)1)
l vnNG no 'rAii*i;i 1»11is11=.1\1 FAx - se-rc<)-ssczesss-ssz l‘“d° l “y‘ )'e 3 851
'i`Al\V/\N EMAIL - viviani'r v\"ervicto\ylycoin
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Case 18-11025-CSS

   

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CaSe 18-11025-CSS DOC 1 Filed 05/01/18 Page 17 of 24

 

 

 

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 18 of 24

IN THE UNITED STATES BANKRUPTCY COURT
F()R THE DISTRICT OF DELAWARE

ln re: : Chapter 11
GIBSON BRANDS, lNC., et al., : Case No. 18- ___( )

Debtors.l

C()NS()LIDATE]) CORPORATE OWNERSHIP STATEMENT PURSUANT TO
FEDERAL RULES` ()1,*` BANKRUPTCY PR()CE])URE 1007 AND 7007.1
Pursuant to Rules lOO7(a)(l) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the above-captioned debtors and debtors in possession (collectively, the “_D~ebtg_s”) attach hereto
as _I_E_>;_h_i_b~it_A_ an organizational chart reflecting all`of their ownership interests The Debtors
respectfully represent as follows:

1. Henry E. Juszl<iewicz owns 36% of the equity interests of Gibson Brands, lnc.
and Berryman Limited Partnership, LP owns approximately 49% of the equity interests
of`Gibson Brands, lnc. To the best of the Debtors’ knowledge and belief, no other person
or entity directly owns 10% or more of the equity interests of Gibson Brands, lnc.

2. Gibson Brands, lnc. owns one hundred percent (100%) of the equity interests of
Baldwin Piano, lnc. y

3. Gibson Brands, lnc. owns one hundred percent (100%) of the equity interests of

Cal<ewall<, lnc.

 

l The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:

Gibson Brands, lnc. (4520); Cal<ewalk, lnc. (2455); Consolidated Musical Instruments, LLC (4695); Gibson Cat`e'
& Gallery, LLC (0434); Gibson lnternational Sales LLC (1754); Gibson Pro Audio Corp. (3042), Neat Audio
Acquisition Corp. (3784); Gibson lnnovations USA, lnc. (4620); Gibson 11oldings, lnc. (8455); Baldwin Piano,
lnc. (0371); Wurlitzer Corp. (0031); and Gibson Europe B.V. (Foreig,n). 'l`he Debtors’ corporate headquarters is
located at 309 Plus Pa1'k Blvd., Nashville, TN 37217.

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 19 of 24

4. Gibson Brands, lnc. owns one hundred percent ('100%) of the equity interests of
Gibson Pro Audio Corp.

5. Gibson Brands, lnc. owns one hundred percent (100%) of the membership
interests of Consolidated l\/Iusical lnstruments, LLC.

6. Gibson Brands, lnc. owns one hundred percent (100%) of the membership
interests ofGibson Café & Gallery, LLC.

7. Gibson Café & Gallery, LLC owns one hundred percent (10()%) of the
membership interests of Gibson lnternational Sales LLC.

8. Gibson Brands, lnc. owns one hundred percent (100%) of the equity interests of
Neat Audio Acquisition Corp.

9. Gibson Brands, lnc. owns one hundred percent (100%) of the equity interests of
Wurlitzer Corp,

1(), Gibson Brands, lnc. owns one hundred percent (100%) of the equity interests of
Gibson lnnovations USA, lnc.

11. Gibson Brands, lnc. owns one hundred percent (100%) of the equity interests of
Gibson Holdings, lnc.

12. Gibson Brands, lnc. owns one hundred percent (100%) of the ownership interests

of Gibson Europe B.V.

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 20 of 24

Exhibit A

[Organizational Chart]

Case 18-11025-CSS Doc 1 Filed 05/01/18 Page 21 of 24

 

 

 

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CaSe 18-11025-CSS DOC 1 Filed 05/01/18 Page 22 of 24

IN THE UNITED STATES BANKRUPTCY C()URT
FOR THE DISTRICT OF DELAWARE

________________________________ X
In re: Chapter ll
Gibson Brands, Inc., Case No. 18-~_,__M …
Debtor.
_______________________________ §
LIST OF EOUITY SECURITY HOLDERSl

 

 

Name and Last Known Address or Kind/Class of Intere_st ~ ` Number of ,Interes'ts`_Held`_` _'
Pla'ce of Business of H.older 1 ~ ' ` ` ~ ` `

 

Henry E Juszkiewicz 0
309 Plus Park Blvd., Nashvine, TN C‘aSS A 334

 

37217
Class B 38%

 

Henry Alexander Juszkiewicz 1993
Vested Trust Class A 3%

c/o David Berryman

 

309 Plus Park Blvd., Nashville, TN
37217 Class B l%

 

Zachary A Juszkiewicz 1993 Vested
Trust Class A 3%

c/o David Berryman

 

309 P}us Park Blvd., Nashville, TN
372]7 ClaSS B l%

 

Lyra Kensington Juszkiewicz 2000
Trust
c/o David Berryman Class A 1%
309 PluS Park Blvd., Nashville, TN
37217

 

Patricia Ann Arns

 

c/O Henry Juszkiewicz CI@SS A 9%
309 Plus Park Blvd., Nashville, TN
37217 Class B 9%

 

 

 

 

 

 

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Bankruptcy Procedure. All equity positions listed are as of the date oi` commencement of the chapter l l case.

This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 ofthe Federal Rules of

CaSe 18-11025-CSS DOC 1 Filed 05/01/18 Page 23 of 24

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Berryman Limited Partnership, LP 0
Berryman Limited Partnership, L.P. Class A 49/°
1314 King Street
c/0 Christiana Bank & Trust Co. C\ass B 49%
Wilmingtorn, DE 19801
Rogel‘ L l\/Iitche)l 0
3635 Earheart R,d. Class A l /0
I\/It. Juliet, TN 37122 Class B O_] ].%
.lim Golomb
2310 P@bblefork Lane mass A 0'1%
Northf`leld, lL 60093 Class B 0_1 l%
Richal'd G€mbal‘ Class A O_]%
209 l\/layfair Rd.
Nashville, TN 37205 Class B O.l l%
Paul Jernigan
‘ A O.I‘V

13390 N. 91st Srreet mass °
Scottsdale, AZ 85260 Class B 0.]1%
John Yarborough ClaSS A 0_]%
807 Shady Glen Ct.
Franklin, TN 37069 Class B 0.1]%
G]enn Derringer 0
1725 W. George Street mass A O'l h
Chicag(), IL 60657 C]aSS B ()']1%
Jim Rosenberg

C\' A O.l‘V
l 140 Prospect Heights dss 0
Santa Cruz, CA 95605 C]ass B 0_11%
Laura Catherine Juszl<iewicz Cl,dSS A 0'03%
309 Plus Park Blvd., Nashville, TN
37217 Class B 0.03%
Onkyo Corporation ClaSS A ]%
Kitahama Chuo Building,
2-2-22 Kitahama, Chuo-ku, Osaka Class B ]%
541~0041 Japan

 

 

Case 18-11025-CSS DOC 1 Filed 05/01/18 Page 24 of 24

Fill in this information to identify the case and this filing:

Debwr Name Gibson Brands, Inc.

 

United States Bankruptcy Court for the: District of DelaWal'Ei
(State)

Case number (lf known):

 

 

Official Form 202
Dec|aration Under Penalty of Perjury for Non-lndividual Debtors 12/15

 

 

An individual who ls authorized to act on behalf of a non~individual debtor, such as a corporation or partnershlp, must sign and submit
this form for the schedules of assets and |iabillties, any other document that requires a declaration that ls not included ln the document,
and any amendments of those documents Thls form must state the lndlvidual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARN|NG -- Bankruptcy fraud is a serious crlme. Making a false statement, concealing property, or obtaining money or property by fraud ln
connection with a bankruptcy case can result ln fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

- Dec|aration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnersh|p; or
another individual sewing as a representative of the debtor |n this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct

Schedu/e A/B: Assets-Rea/ and Personal Property (Ofiicia| Form 206A/B)
Schedu/e D.l Creditors Who Have C/a/'ms Secured by Properiy (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured C/aims (Officia| Form 206E/F)
Schedu/e G: Executory Contracts and Unexpired Leases (Ofncial Form 206G)
Schedu/e H: Codebtors (Offlcial Form 206H)

Sumrnary ofAssefs and Liabi/ities for Non-lndividuals (Ofncial Form ZOGSum)

Amended Schedu/e

H U|]i:||:|i:ii:|i:|

Chapter 11 or Chapter 9 Cases.' L/'st of Creditors Who Have the 30 Largest Unsecured C/aims and Are Not /ns/'ders (Official Form 204)

Corporate Ownership Statement and List of Equity Holders

H

Other document that requires a declaration

 

l declare under penalty of perjury that the foregoi

Executed on 5 / ij

MM /D /YYY¥ Signature of individual signing on behalf of debtor

 

 

Henry E. Juszkiewicz

Prlnted name

Chief Executive Offlcer

Position or relationship to debtor

 

 

Official Form 202 Declaration Und`er Penalty of Per]ury for Non-lndividua| Debtors

